                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7 Filed 03/26/18 Page 1 of 3 Page ID #:72



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                                                                                                              UNITED STATES DISTRICT COURT
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                                                                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                   10
                                                                                                           FIRST STREET FEDERAL COURTHOUSE
                 A limited liability partnership formed in the State of Delaware




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                                                                                        Namdy Consulting, Inc.,              Case No.: 2:18-cv-1283 RSWL (KSx)
                                                                                   12
REED SMITH LLP




                                                                                                         Plaintiff,          DEFENDANT
                                                                                   13                                        UNITEDHEALTHCARE
                                                                                            vs.                              INSURANCE COMPANY’S NOTICE
                                                                                   14                                        OF MOTION AND MOTION TO
                                                                                      UnitedHealthcare Insurance Company and DISMISS PLAINTIFF’S
                                                                                   15 DOES 1-20.                             COMPLAINT
                                                                                   16                    Defendants.         Hearing Date:    May 1, 2018
                                                                                                                             Time:            10:00 a.m.
                                                                                   17                                        Courtroom:       TBD
                                                                                   18                                        Compl. Filed:   November 30, 2017
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                                                                                               DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
                                                                                   Case 2:18-cv-01283-RSWL-KS Document 7 Filed 03/26/18 Page 2 of 3 Page ID #:73



                                                                                    1 TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

                                                                                    2        PLEASE TAKE NOTICE THAT that on May 1, 2018, at 10:00 a.m., or as
                                                                                    3 soon thereafter as counsel may be heard, before the Honorable Ronald S.W. Lew,

                                                                                    4 United States District Judge, in a Courtroom (specific Courtroom location to be

                                                                                    5 noticed by the Court) of the above-entitled Court, located at 350 W. 1st Street, Suite

                                                                                    6 4311, Los Angeles, California 90012, Defendant UnitedHealthcare Insurance

                                                                                    7 Company (“UHIC”) will and hereby does move, pursuant to Federal Rule of Civil

                                                                                    8 Procedure 12(b)(6), to dismiss the claims alleged against it in the Complaint by

                                                                                    9 Plaintiff NAMDY Consulting, Inc. (“NAMDY ”).

                                                                                   10        NAMDY’s claims fail as a matter of law because NAMDY lacks standing.
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 NAMDY’s attempt to pursue its claims on the basis of an alleged assignment fails

                                                                                   12 because NAMDY has not sufficiently alleged facts regarding the subject matter and
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                                                                                   13 scope of the assignment or sufficiently pled that the assignor assigned the specific

                                                                                   14 claims for relief alleged herein to NAMDY. Even if NAMDY had standing, its claims

                                                                                   15 should be dismissed because NAMDY has failed to sufficiently plead factual

                                                                                   16 allegations to state a plausible claim for relief. NAMDY’s claims for recovery for

                                                                                   17 services rendered and quantum meruit fail because NAMDY has failed to plead that

                                                                                   18 UHIC made a specific request for the services or benefited from them, essential

                                                                                   19 elements of NAMDY’s claims. Further, the quantum meruit claim fails because

                                                                                   20 NAMDY’s recovery is limited to the benefits afforded under the patients’ contracts

                                                                                   21 with UHIC and there are no allegations that UHIC failed to reimburse NAMDY

                                                                                   22 according to the terms of the patients’ contracts with UHIC.

                                                                                   23        Moreover, NAMDY’s claim for open book account fails because NAMDY has
                                                                                   24 failed to plead any facts regarding a mutual agreement between the parties to maintain

                                                                                   25 a book account of credits and debts, an essential element of a claim for open book

                                                                                   26 account. Additionally, NAMDY’s claim for breach of implied contract fails because

                                                                                   27 NAMDY has not pled any words or conduct showing UHIC agreed to pay 100% of

                                                                                   28 the Physicians’ full, billed charges. NAMDY’s declaratory relief claim fails because


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                                                                                             DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
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                                                                                    1 it is not an independent cause of action and is duplicative of NAMDY’s other claims

                                                                                    2 for relief. Further, NAMDY’s claim for interference fails as a matter of law because

                                                                                    3 UHIC is not a stranger to the economic relationship between the Physicians and

                                                                                    4 UHIC’s insureds. Even if UHIC was a stranger to the relationship, NAMDY has not

                                                                                    5 pled any independently wrongful conduct to support its claim or sufficiently alleged

                                                                                    6 facts showing UHIC was certain or substantially certain that its actions would cause

                                                                                    7 an interference.

                                                                                    8        This motion is based upon this Notice of Motion and Motion, the accompanying
                                                                                    9 Memorandum of Points and Authorities, the pleadings in this case and upon any

                                                                                   10 additional matter or argument that may be presented by counsel at the hearing on this
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 motion.

                                                                                   12        This motion is made following the conference of counsel pursuant to L.R. 7-3,
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                                                                                   13 which took place on February 15, 2018.

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                                                                                   15 DATED: March 26, 2018                 REED SMITH LLP
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                                                                                   17                                       By      /s/ Sarah B. Johansen
                                                                                                                                 Amir Shlesinger
                                                                                   18                                            Farah Tabibkhoei
                                                                                                                                 Sarah B. Johansen
                                                                                   19                                            Attorneys for Defendant
                                                                                                                                 UnitedHealthcare Insurance Company
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                                                                                             DEFENDANT’S NOTICE OF MOTION AND MOTION TO DISMISS
